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    EXHIBIT B
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                                                IN THE UNITED STATES DISTRICT COURT
                                               FOR THE WESTERN DISTRICT OF VIRGINIA
                                                         ABINGDON DIVISION


                   PLUM CREEK TIMBERLANDS, L.P.,                                    )
                                                                                    )
                                                   Plaintiff,                       )
                                                                                    )
                   v.                                                               )
                                                                                    )
                   YELLOW POPLAR LUMBER COMPANY, INC.,                              )
                   ET AL.                                                           )
                                                                                    )
                   ADDITIONAL DEFENDANTS:                                           )
                                                                                    )
                   EQT PRODUCTION NORA, LLC, a Delaware                             )
                   Limited Liability Company                                        )
                                                                                    )
                            SERVE:                 CT Corporation System            )
                                                   4701 Cox Road, Suite 301         )
                                                   Glen Allen, VA 23060-6802        )
                                                                                    )
                   COMMONWEALTH OF VIRGINIA,                                        )
                   DEPARTMENT OF MINES, MINERALS AND                                )
                   ENERGY, DIVISION OF GAS AND OIL                                  )   Case No. 1:13cv00062
                                                                                    )
                            SERVE:                 Conrad Spangler, Director        )
                                                   1100 Bank Street                 )
                                                   Washington Building, 8th Floor   )
                                                   Richmond, VA 23219               )
                                                                                    )
                   CONRAD SPANGLER, in his official capacity as                     )
                   Director, Virginia Department of Mines, Minerals                 )
                   and Energy                                                       )
                                                                                    )
                            SERVE:                 Conrad Spangler, Director        )
                                                   1100 Bank Street                 )
                                                   Washington Building, 8th Floor   )
                                                   Richmond, VA 23219               )
                                                                                    )
                   VIRGINIA GAS AND OIL BOARD                                       )
WOODS ROGERS PLC                                                                    )
ATTORNEYS AT LAW
                            SERVE:                 Bradley C. Lambert, Chairman     )
                                                   Virginia Gas and Oil Board       )
                                                   135 Highland Drive               )
                                                   Lebanon, Virginia 24266          )




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                                                                                  )
                   BRADLEY C. LAMBERT, in his official capacity as                )
                   Chairman, Virginia Gas and Oil Board                           )
                                                                                  )
                            SERVE:                 Bradley C. Lambert, Chairman   )
                                                   Virginia Gas and Oil Board     )
                                                   135 Highland Drive             )
                                                   Lebanon, Virginia 24266        )
                                                                                  )
                   LEVISA COAL COMPANY, a                                         )
                   Virginia Limited Partnership and LLP                           )
                                                                                  )
                            SERVE:                 Benjamin A. Street             )
                                                   Registered Agent               )
                                                   1131 Plaza Drive               )
                                                   P.O. Box 2100                  )
                                                   Grundy, VA 24614               )
                                                                                  )
                   MGM METHANE CORPORATION,                                       )
                   a Virginia Corporation                                         )
                                                                                  )
                            SERVE: Michael McGlothlin                             )
                                      Registered Agent                            )
                                      20445 Riverside Drive                       )
                                      Grundy, VA 24614                            )
                                                                                  )
                   WAR FORK COAL PARTNERSHIP,                                     )
                   a Virginia Partnership                                         )
                                                                                  )
                            SERVE:                 John C. Irvin                  )
                                                   Managing Partner               )
                                                   4710 Hunterwood Circle         )
                                                   Richmond TX 77469              )
                                                                                  )
                   FAIRVIEW LIMITED PARTNERSHIP,                                  )
                   a Virginia Partnership                                         )
                                                                                  )
                            SERVE:                 Patrick R. Johnson             )
                                                   Registered Agent               )
                                                   1366 Fairview Street           )
                                                   Grundy, VA 24614               )
                                                                                  )
WOODS ROGERS PLC
ATTORNEYS AT LAW   CNX GAS COMPANY, LLC, a                                        )
                   Virginia Limited Liability Company                             )
                                                                                  )
                            SERVE:                 CT Corporation System          )
                                                   4701 Cox Road, Suite 285       )


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                                                   Glen Allen, VA 23060       )
                                                                              )
                   JOHN C. IRVIN                                              )
                   4710 Hunterwood Circle                                     )
                   Richmond TX 77469                                          )
                                                                              )
                   CAROL C. IRVIN                                             )
                   4710 Hunterwood Circle                                     )
                   Richmond TX 77469                                          )
                                                                              )
                   MARTHA E. COMBS                                            )
                   310 Bradley Street                                         )
                   Abingdon, VA 24210                                         )
                                                                              )
                   JOHN W. POBST, JR.                                         )
                   24 Woodland Drive                                          )
                   Upper Black Eddy, PA 18972                                 )
                                                                              )
                   AMY COMBS, Trustee,                                        )
                   F.H. Combs Testamentary Trust                              )
                   125 Combs Court                                            )
                   Tazewell, VA 24651-4501                                    )
                                                                              )
                   ERIC COMBS, Trustee,                                       )
                   F.H. Combs Testamentary Trust                              )
                   125 Combs Court                                            )
                   Tazewell, VA 24651-4501                                    )
                                                                              )
                   VIRGINIA LINWICK                                           )
                   4325 South Ball Drive                                      )
                   Veradale, WA 99037                                         )
                                                                              )
                   PHILLIP G. LINWICK                                         )
                   4324 South Ball Drive                                      )
                   Veradale, WA 99037                                         )
                                                                              )
                   RICHARD K. POBST                                           )
                   1024 Oxford Dr.                                            )
                   St. Augustine, FL 32084                                    )
                                                                              )
                   CATHERINE POBST                                            )
                   111 Postelle St                                            )
WOODS ROGERS PLC
ATTORNEYS AT LAW   Cartersville, GA 30120                                     )
                                                                              )
                   MEREDITH E. JENNINGS                                       )
                   542 Butler Mill Rd.                                        )
                   Maryville, TN 37803                                        )


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                                                                                    )
                   HURLEY RATLIFF                                                   )
                   1058 Willie Rd                                                   )
                   Vansant, VA 24656                                                )
                                                                                    )
                   JOSEPH DEWAYNE TILLER                                            )
                   1196 Mahagony Rd                                                 )
                   Honaker, VA 24260                                                )
                                                                                    )
                   FATE GAINS COMPTON                                               )
                   251 Decatur Rd                                                   )
                   Stafford, VA 22554                                               )
                                                                                    )
                   PATRICIA COMPTON                                                 )
                   8240 Beatrice St                                                 )
                   Westland, MI 48185                                               )
                                                                                    )
                                                   Defendants.                      )

                                                     SECOND AMENDED COMPLAINT FOR
                                                    DECLARATORY RELIEF AND DAMAGES

                            Plaintiff Plum Creek Timberlands, L.P. (“Plum Creek”), by counsel, files this Second

                   Amended Complaint for Declaratory Relief and Damages, and in support thereof states as

                   follows:

                                                                 NATURE OF SUIT

                            1.        This is an action seeking declaratory relief pursuant to 28 U.S.C. § 2201, et seq.,

                   and to quiet and remove clouds on title and to establish title to real property owned by Plum

                   Creek located in Buchanan County, Virginia, to resolve conflicting claims to coalbed methane

                   under Va. Code § 45.1-361.22, to declare void certain pooling orders of the Virginia Gas and Oil

                   Board (“VGOB”), and to recover damages. Specifically, Plum Creek asserts that it is the

                   successor in title to surface and gas rights in "all of the tracts, pieces or parcels of land, or

WOODS ROGERS PLC   interests in land owned by Yellow Poplar Lumber Company (hereafter “Yellow Poplar”) on the
ATTORNEYS AT LAW


                   watersheds of Levisa River and Dismal Creek and their tributaries in said Buchanan County,

                   Virginia . . ." which were conveyed under a certain deed dated September 21, 1929, between



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                   Gallie Friend, Trustee of the Bankruptcy Estate of Yellow Poplar and W.M. Ritter Lumber

                   Company, Deed Book 64, Page 473, recorded in the Clerk's Office of the Circuit Court of

                   Buchanan County, Virginia (hereafter, the "Gallie Friend Deed"). A copy of the Gallie Friend

                   Deed is attached hereto and incorporated herein as Exhibit A.

                            2.        EQT Production Company (“EQT Production”) has filed applications with VGOB

                   to force pool gas interests, including coalbed methane gas (“CBM”), of Yellow Poplar, as an

                   unknown owner, in numerous gas wells/drilling units located within Yellow Poplar’s boundary.

                   In doing so, EQT Production misrepresented, under oath, that Defendant Range Resources – Pine

                   Mountain, Inc. (and its predecessor) (collectively, “Range Resources”), a coal estate only owner,

                   is a conflicting claimant to CBM in the Yellow Poplar drilling units. EQT Production further

                   misrepresented itself as a gas owner in those drilling units by virtue of leases in its favor from

                   Range Resources. Moreover, EQT Production failed to give proper statutory notice of hearings

                   on the applications for the VGOB pooling orders. In addition, VGOB’s grant of pooling orders

                   and permits under the guise of the Virginia Gas and Oil Act, Va. Code § 45.1-361.1 et. seq.,

                   (hereafter, “Gas Act”) in favor of EQT Production purporting to allow a private party like EQT

                   Production to “pool,” develop, produce and keep seven-eighths of gas owned by the Yellow

                   Poplar unknown, effecting a forfeiture of the unknown’s property rights to another private party,

                   who otherwise has no property interest in the gas, after inadequate notice and no opportunity to

                   elect, indicates that the Act is unconstitutional as applied in this instance. Consequently, certain

                   VGOB orders relating to Yellow Poplar property rights are void ab initio, and EQT is

                   answerable in damages for the substantial quantities of CBM it has produced and sold
WOODS ROGERS PLC
ATTORNEYS AT LAW   attributable to Yellow Poplar/Plum Creek’s interests. In those instances where the Yellow

                   Poplar unknown’s gas rights may have been properly pooled, EQT, as operator, has not properly




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                   accounted for and escrowed the proceeds from CBM attributable those interests as required by

                   law.

                            3.        Among other things, this suit requests the following relief:

                                      (a)          That the Court interpret the Gallie Friend Deed and declare that Yellow

                            Poplar's surface and gas rights in the watershed described therein were conveyed to W.M.

                            Ritter;

                                      (b)          That the Court declare Plum Creek the successor in title of W.M. Ritter in

                            and to such rights;

                                      (c)          That the Court declare Plum Creek the successor in title and sole and

                            exclusive owner to gas rights currently pooled under or otherwise the subject of

                            numerous VGOB Orders and identified under the owner "Gallie Friend, Trustee,"

                            "Yellow Poplar Lumber Company, Owner Unknown," or similar designation (hereafter,

                            “Yellow Poplar, Unknown”), and identified under the name of a C. G. Jackson Record

                            Owner (or a predecessor) (as referenced below);

                                      (d)          That the Court declare null, void and of no effect an Instrument dated

                            October 16, 1930, recorded in the Clerk's Office of the Circuit Court of Buchanan

                            County, Virginia, in Deed Book 65, Page 593, a copy of which is attached hereto and

                            incorporated herein as Exhibit B, by which Gallie Friend, Trustee of the Estate of Yellow

                            Poplar, Bankrupt, purported to convey 1,000 acres, more or less, owned by Yellow

                            Poplar and situate in the watersheds of Levisa River and Dismal Creek and their

                            tributaries in Buchanan County, Virginia, to C. G. Jackson (hereafter "C. G. Jackson
WOODS ROGERS PLC
ATTORNEYS AT LAW            Deed"), and declare null, void and of no effect all mesne conveyances thereafter ending




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                            in purported record title in certain defendants as more fully described herein, as well as

                            all leases, split agreements and other Instruments associated therewith;

                                      (e)          That the Court declare void and unenforceable certain VGOB Orders

                            purporting to pool Plum Creek gas rights for failure to comply with statutory and

                            regulatory requirements, for failure to afford due process and/or on the grounds that the

                            Gas Act, as applied, violates Plum Creek’s rights under the Constitutions of the United

                            States and Virginia;

                                      (f)          That the Court resolve in Plum Creek’s favor all allegedly conflicting

                            claims to CBM asserted by EQT Production as reflected in applications and valid VGOB

                            orders, that the Court order EQT to account for all CBM produced and sold attributable to

                            Plum Creek’s interests, and that the Court order all monies escrowed in connection with

                            valid VGOB orders be released and paid to Plum Creek; and

                                      (g)          That Plum Creek be awarded compensatory and exemplary damages for

                            trespass, conversion, unjust enrichment, and breach of fiduciary duties in connection with

                            CBM proceeds not properly escrowed and CBM attributable to Plum Creek’s interests

                            produced and sold by EQT without authority under law.

                                                                       PARTIES

                            4.        Plaintiff Plum Creek is a limited partnership organized under the laws of the State

                   of Delaware with its principal place of business in Seattle, Washington. It is engaged in the

                   business of a real estate investment trust and owns, leases and/or manages natural resources,

                   including minerals, throughout the United States, including Virginia.
WOODS ROGERS PLC
ATTORNEYS AT LAW            5.        Defendant Yellow Poplar was a corporation organized under the laws of the State

                   of Illinois, with its principal place of business at the time in Pickens, South Carolina. By Decree




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                   dated November 7, 1928 the United States District Court for the Western District of South

                   Carolina adjudged Yellow Poplar a bankrupt and its estate was liquidated. Consequently Yellow

                   Poplar is a defunct corporation. Yellow Poplar and its unknown successors in title, assigns,

                   shareholders, and creditors, referred to as "Parties Unknown," are named as defendants herein

                   because Plum Creek claims that it is the exclusive successor in title to certain surface and gas

                   rights in tracts of land located in Buchanan County, Virginia which are known to have been

                   owned by Yellow Poplar in or about 1929 as more fully described herein.

                            6.        The following Defendants have been named as interested parties herein because

                   they are the purported record owners of certain rights in real property which is a portion of the

                   1,000 acres originally the subject of the C. G. Jackson Deed. Plaintiff asserts that the C. G.

                   Jackson Deed, and all mesne conveyances resulting in record title in each of the following

                   defendants, are null, void and of no effect:

                                      (a)          Defendant Edwin F. Lagard, Jr., believed to be a resident of the New

                            Canaan, Connecticut, is the purported record owner of surface and gas rights in an

                            undivided one-third interest in 588.24 acres located in Buchanan County, Virginia, which

                            is a portion of the acreage/interest conveyed by the C. G. Jackson Deed. Edwin F.

                            Lagard, Jr. is a successor to a record claimant to CBM rights in certain Drilling

                            Units/Wells to which Plum Creek is a successor in interest.

                                      (b)          Defendant Elizabeth Anne Cox, Trustee of the Elizabeth Anne Cox Trust,

                            believed to be a resident of Hartford, Connecticut, is the record fiduciary owner of

                            surface and gas rights in an undivided one-third interest in 588.24 acres located in
WOODS ROGERS PLC
ATTORNEYS AT LAW            Buchanan County, Virginia, which is a portion of the acreage/interest conveyed by the C.

                            G. Jackson Deed. Elizabeth Anne Cox, Trustee is a successor to a record claimant to




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                            CBM rights in certain Drilling Units/Wells to which Plum Creek is a successor in

                            interest.

                                      (c)          Defendant William B. Baker, Jr., the sole surviving Trustee of the Emily

                            P. Baker Generation Skipping Trust, believed to be a resident of Damascus, Oregon, is

                            the record fiduciary owner of surface and gas rights in an undivided one-third interest in

                            588.24 acres located in Buchanan County, Virginia, which is a portion of the

                            acreage/interest conveyed by the C. G. Jackson Deed. William B. Baker, Jr., Trustee is a

                            successor to a record claimant to CBM rights in certain Drilling Units/Wells to which

                            Plum Creek is a successor in interest.

                                      (d)          Defendant Charles Bartlett, M.D. is a lessee of certain gas rights in 588.24

                            acres located in Buchanan County, Virginia, which is a portion of the acreage/interest

                            conveyed by the C. G. Jackson Deed. As such Defendant Charles Bartlett, M.D. is

                            identified as a lessee in certain VGOB Drilling Units/Wells pooled in the name of

                            William G. Baker (or his successors), is an interested party and is named a defendant

                            herein.

                                      (e)          Defendant Chesapeake Appalachia, LLC, an Oklahoma limited liability

                            company, is a lessee of certain gas rights in 588.24 acres located in Buchanan County,

                            Virginia, which is a portion of the acreage/interest conveyed by the C. G. Jackson Deed.

                            As such Defendant Chesapeake Appalachia, LLC is identified as a lessee in certain

                            VGOB Drilling Units/Wells pooled in the name of William G. Baker (or his successors),

                            is an interested party and is named a defendant herein. In addition, Chesapeake
WOODS ROGERS PLC
ATTORNEYS AT LAW            Appalachia, LLC is the successor by merger to Columbia Natural Resources, LLC which

                            is identified as a Unit Operator of at least one of the Drilling Units/Wells at issue.




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                            Columbia Natural Resources, LLC is hereinafter referred to as Chesapeake Appalachia,

                            LLC.

                                      (f)          Defendant Lydia V. Newberry, believed to be a resident of Surprise,

                            Arizona, is the purported record owner of gas rights in an undivided interest in 225.6

                            acres located in Buchanan County, Virginia, which is a portion of the acreage/interest

                            conveyed by the C. G. Jackson Deed. Lydia Newberry is a successor to a record claimant

                            to CBM rights in certain Drilling Units/Wells to which Plum Creek is a successor in

                            interest.

                                      (g)          Defendant Heartwood Forestland Fund IV Limited Partnership

                            ("Heartwood Forestland Fund") is a North Carolina limited partnership with its principal

                            place of business in Chapel Hill, NC and registered to do business in Virginia. Defendant

                            Heartwood Forestland Fund is the purported record owner of surface rights in an

                            undivided interest in 225.6 acres located in Buchanan County, Virginia, which is a

                            portion of the acreage/interest conveyed by the C. G. Jackson Deed.

                                      (h)          Defendant Marlene McCall, believed to be a resident of Kingsport,

                            Tennessee, is the purported record owner of surface and gas rights in an undivided one-

                            half interest in 144.8 acres located in Buchanan County, Virginia, which is a portion of

                            the acreage/interest conveyed by the C. G. Jackson Deed. Marlene McCall is a successor

                            to a record claimant to CBM rights in certain Drilling Units/Wells to which Plum Creek

                            is a successor in interest.

                                      (i)          Defendant Donna Vest, believed to be a resident of Vinton, Virginia, is the
WOODS ROGERS PLC
ATTORNEYS AT LAW            purported record owner of surface and gas rights in an undivided one-half interest in

                            144.8 acres located in Buchanan County, Virginia, which is a portion of the




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                            acreage/interest conveyed by the C. G. Jackson Deed. Donna Vest is a successor to a

                            record claimant to CBM rights in certain Drilling Units/Wells to which Plum Creek is a

                            successor in interest.

                                      (j)          Mary L. McGlothlin, deceased, is the purported record owner of gas rights

                            in an undivided interest in 72.8 acres, surface and gas rights in an undivided one-half

                            interest in 49.01 acres, and surface and gas rights in a 7/9 interest in 74.2 acres, all

                            located in Buchanan County, Virginia, all of which is a portion of the acreage/interest

                            conveyed by the C. G. Jackson Deed. Upon information and belief, Mary L. McGlothin

                            departed this life intestate on January 1, 2013. Mrs. McGlothlin left the following heirs

                            who are named as defendants herein as interested parties because they are successors to

                            record claimants to CBM rights in certain Drilling Units/Wells to which Plum Creek is a

                            successor in interest:

                                              (i)        Defendant Donald A. McGlothlin, Jr.;

                                              (ii)       Defendant Mary L. McGlothlin Burton;

                                              (iii)      Defendant Leah Anne McGlothlin; and

                                              (iv)       Defendant Kevin T. McGlothlin.

                                      (k)          Lonzo Coleman, deceased, is the purported record owner of surface and

                            gas rights in a 2/9 interest in 74.2 acres located in Buchanan County, Virginia, which is a

                            portion of the acreage/interest conveyed by the C. G. Jackson Deed. Upon information

                            and belief, Lonzo Coleman died on or about November 5, 1962, leaving nine heirs, a list

                            of whom is found at Will Book 3, Page 344 of the Clerk's Office of the Circuit Court of
WOODS ROGERS PLC
ATTORNEYS AT LAW            Buchanan County, Virginia. Each of the heirs of Lonzo Coleman purportedly received a

                            1/9 undivided interest in the 2/9 interest of the tract aforesaid. These heirs include,




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                            among others, Karen Stiltner and Meda Jane Owens. Upon information and belief, all

                            Lonzo Coleman heirs, with the exception of Karen Stiltner and Meda Jane Owens, sold

                            their interest in the subject parcel to Mary L. McGlothlin. Karen Stiltner is believed to be

                            a resident of Galax, Virginia. Meda Jane Owens departed this life some time prior to

                            1977, leaving her husband Teddy R. Owens. It is unknown whether Meda Jane Owens

                            had any issue or other heirs or descendants. At some time prior to June 3, 2008, Teddy

                            R. Owens departed this life. It is unknown whether Teddy R. Owens had any issue.

                            Teddy R. Owens left the following living siblings: Rita C. Coleman of Vansant,

                            Virginia, Betty Sue Sutherland of Lebanon, Virginia, Ruby Jean Hill of Vansant, Virginia

                            and Danny Carl Owens of Haysi, Virginia. Other heirs and descendants of Teddy R.

                            Owens are referred to herein as "Parties Unknown." Accordingly, the following are

                            potentially interested parties and are named defendants herein:

                                              (i)       Defendant Karen Stiltner;

                                              (ii)      Defendant Rita C. Coleman;

                                              (iii)     Defendant Betty Sue Sutherland;

                                              (iv)      Defendant Ruby Jean Hill;

                                              (v)       Defendant Danny Carl Owens;

                                              (vi)      Unknown descendants, heirs, devisees, beneficiaries, and assigns of

                                       Meda J. Owens, referred to as "Parties Unknown;" and

                                              (vii)     Unknown descendants, heirs, devisees, beneficiaries, and assigns of

                                      Teddy R. Owens, referred to as "Parties Unknown."
WOODS ROGERS PLC
ATTORNEYS AT LAW                      (l)          Defendant Rebecca L. Bowman Rakes, believed to be a resident of

                            Ferrum, Virginia, is a purported record owner of an undivided interest in surface rights in




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                            72.8 acres located in Buchanan County, Virginia, subject to the life estates of Helen M.

                            Bowman and Jerry R. Bowman, both of whom are deceased, which is a portion of the

                            acreage/interest conveyed by the C. G. Jackson Deed.

                                      (m)          Defendant Cindy K. Bowman, believed to be a resident of Vansant,

                            Virginia, is a purported record owner of an undivided interest in surface rights in 72.8

                            acres located in Buchanan County, Virginia, subject to the life estates of Helen M.

                            Bowman and Jerry R. Bowman, both of whom are deceased, which is a portion of the

                            acreage/interest conveyed by the C. G. Jackson Deed.

                                      (n)          Defendant Matthew Trivett, believed to be a resident of Keyman,

                            Maryland, is the purported record owner of surface and gas rights in an undivided one-

                            half interest in 49.01 acres located in Buchanan County, Virginia, which is a portion of

                            the acreage/interest conveyed by the C. G. Jackson Deed.

                                      (o)          Defendant Michael Trivett, believed to be a resident of Bethesda,

                            Maryland, is the purported record owner of surface and gas rights in an undivided one-

                            half interest in 49.01 acres located in Buchanan County, Virginia, which is a portion of

                            the acreage/interest conveyed by the C. G. Jackson Deed.

                                      (p)          Defendant Jody B. Baldwin, believed to be a resident of Salem, Virginia,

                            is the purported record owner of surface and gas rights in an undivided interest in 18

                            acres located in Buchanan County, Virginia, which is a portion of the acreage/interest

                            conveyed by the C. G. Jackson Deed.

                                      (q)          Defendant Jessica Baldwin, believed to be a resident of Salem, Virginia, is
WOODS ROGERS PLC
ATTORNEYS AT LAW            the purported record owner of surface and gas rights in an undivided interest in 18 acres




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                            located in Buchanan County, Virginia, which is a portion of the acreage/interest

                            conveyed by the C. G. Jackson Deed.

                                      (r)          I. A. Coleman, deceased, was the purported record owner of surface and

                            gas rights in 13.8 acres located in Buchanan County, Virginia, which is a portion of the

                            acreage/interest conveyed by the C. G. Jackson Deed. I. A. Coleman departed this life

                            prior to November 1982, intestate, leaving the following heirs: Arthur Coleman, Carmel

                            Coleman, Lena Everman, Stella Coleman, Bonnie Hunt, and Lonzie Coleman. Lonzie

                            Coleman subsequently departed this life leaving the following heirs: wife Goldie

                            Coleman York and issue Barbara Charles, Clinton Coleman, Eugene Coleman, Douglas

                            Coleman, Susie Charles, Karen Stiltner and Ira Jessie Coleman. At the time of his death

                            I. A. Coleman also owned real property adjacent to the 13.8 acres. After his death, the

                            13.8 acres and the adjacent property were commingled and the heirs of I. A. Coleman and

                            Lonzie Coleman agreed to divide their interest in this property into seven tracts. Each

                            heir received one of the seven tracts made up of 12 acres, more or less, and each tract

                            contained a portion of the 13.8 acres, which is a portion of the acreage/interest conveyed

                            by the C. G. Jackson Deed. Accordingly, the following individuals are interested parties

                            and named defendants herein by virtue of the seven tracts identified below and as more

                            particularly described in the land records of Buchanan County, Virginia:

                                                   (i)    Bonnie Hunt is the purported record owner of an undivided interest

                                      in surface and gas rights in Tract 1 (Deed Book 295, Page 286);

                                                   (ii)   Rita Simmons is the purported record owner of an undivided interest
WOODS ROGERS PLC
ATTORNEYS AT LAW                      in surface and gas rights in Tract 2 (Instrument No. 060001982);




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                                                   (iii) Douglas Coleman is the purported record owner of an undivided one

                                      quarter interest in the surface and gas rights in Tract 3 (Deed Book 595, Page

                                      588);

                                                   (iv)   Clinton Coleman is the purported record owner of an undivided one-

                                      eighth interest in the surface and gas rights in Tract 3 (Deed Book 295, Page 439);

                                                   (v)    Eugene Coleman is the purported record owner of an undivided one-

                                      eighth interest in the surface and gas rights in Tract 3 (Deed Book 295, Page 439);

                                                   (vi)   Barbara Charles is the purported record owner of an undivided one-

                                      eighth interest in the surface and gas rights in Tract 3 (Deed Book 295, Page 439);

                                                   (vii) Susie Charles is the purported record owner of an undivided one-

                                      eighth interest in the surface and gas rights in Tract 3 (Deed Book 295, Page 439);

                                                   (viii) Ira Jessie Coleman is the purported record owner of an undivided

                                      one-eighth interest in the surface and gas rights in Tract 3 (Deed Book 295, Page

                                      439);

                                                   (ix)   Karen Stiltner is the purported record owner of an undivided one-

                                      eighth interest in the surface and gas rights in Tract 3 (Deed Book 295, Page 439);

                                                   (x)    Lena Everman is the purported record owner of an undivided

                                      interest in the surface in Tract 4 (Deed Book 303, Page 764);

                                                   (xi)   Mary L. Coleman is the purported record owner of an undivided

                                      interest in the gas rights in Tract 4 (Deed Book 303, Page 764);

                                                   (xii) Arthur Coleman is the purported record owner of an undivided
WOODS ROGERS PLC
ATTORNEYS AT LAW                      interest in the gas rights in Tract 4 (Deed Book 303, Page 764). Upon

                                      information and belief, Arthur Coleman departed this life on or about April 13,




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                                      1985, intestate, with his heirs, descendants and devisees being unknown. All

                                      unknown heirs, descendants, devisees, beneficiaries and assigns of Arthur

                                      Coleman, deceased, are interested parties and are made defendants herein as

                                      "Parties Unknown;"

                                                   (xiii) Bonnie Hunt is the purported record owner of an undivided interest

                                      in the surface in Tract 5 (Deed Book 295, Page 624);

                                                   (xiv) Lena Everman is the purported record owner of an undivided

                                      interest in the gas rights in Tract 5 (Deed Book 295, Page 624);

                                                   (xv) Irving Coleman is the purported record owner of an undivided ½

                                      interest in the surface and gas rights in Lot 1 of Tract 6 (Will Book 18, Page 420);

                                                   (xvi) Barbara Ellen Coleman is the purported record owner of an

                                      undivided ½ interest in the surface and gas rights in Lot 1 of Tract 6, having

                                      acquired that interest by deed of gift from Regina Lynn Lewis dated January 10,

                                      2013 (Instrument No. 130000134);

                                                   (xvii) Irving Coleman is the purported record owner of an undivided

                                      interest in the surface and gas rights in Lot 2 of Tract 6 (Will Book 18, Page 420);

                                                   (xviii) Regina Lynn Lewis is the purported record owner of an undivided

                                      interest in the surface and gas rights in Lot 3 of Tract 6 (Deed Book 611, Page

                                      770);

                                                   (xix) Jerry L. Coleman is the purported record owner of an undivided

                                      interest in the surface and gas rights in Tract 7 (Deed Book 445, Page 93); and
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ATTORNEYS AT LAW




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                                                   (xx) Barbara Ann Coleman is the purported record owner of an

                                      undivided interest in the surface and gas rights in Tract 7 (Deed Book 445, Page

                                      93).

                                      (s)          Defendant G. W. Charles, address unknown, is the purported record owner

                            of an undivided interest in 26,250 square feet of surface located in Buchanan County,

                            Virginia, which is a portion of the acreage/interest conveyed by the C. G. Jackson Deed

                            (Deed Book 93, Page 323).

                                      (t)          Defendant Phoeba Charles, address unknown, is the purported record

                            owner of an undivided interest in 26,250 square feet of surface located in Buchanan

                            County, Virginia, which is a portion of the acreage/interest conveyed by the C. G.

                            Jackson Deed (Deed Book 93, Page 323).

                                      (u)          It appearing to Plaintiff that Defendants G. W. Charles and Phoeba

                            Charles, husband and wife, are purported record owners based on a deed dated August

                            28, 1943, that their whereabouts are unknown and that they may have departed this life,

                            the unknown descendants, heirs, devisees, beneficiaries, and assigns of G. W. Charles

                            and Phoeba Charles, referred to as "Parties Unknown" are made defendants herein.

                            7.        Defendant EQT Production Company f/k/a Equitable Production Company

                   (collectively with EQT Production Nora, LLC, “EQT”) is a corporation organized under the laws

                   of the state of Pennsylvania with its principal place of business in Pittsburg, Pennsylvania. EQT

                   is engaged in the business of the development and production of deep gas and CBM, including

                   the development and operation of gas Drilling Units/Wells, in Buchanan County, Virginia. EQT
WOODS ROGERS PLC
ATTORNEYS AT LAW   is a Unit Operator of certain gas Drilling Units/Wells located in Buchanan County, Virginia

                   which identify as a gas owner Yellow Poplar, Unknown, or a C. G. Jackson Record Owner (or its




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                   predecessor). EQT is made a defendant herein as it has engaged in the unauthorized production,

                   development and removal of gas owned by Plum Creek, and/or as an interested party as it

                   purports to be the Unit Operator and statutory lessee of gas in these Drilling Units/Wells

                   pursuant to Va. Code § 45.1-361.21 and -361.22.

                            8.        EQT Production Nora, LLC, (“EQT Nora”) is a limited liability company

                   organized under the laws of the state of Delaware with its principal place of business at 625

                   Liberty Avenue, Suite 1700, Pittsburgh, Pennsylvania 15222. EQT Nora is engaged in the

                   business of the development and production of deep gas and CBM, including the development

                   and operation of gas Drilling Units/Wells, in Buchanan County, Virginia. EQT Production

                   Company purportedly transferred certain wells in which Plum Creek claims gas rights to EQT

                   Nora as Unit Operator. EQT Nora is made a defendant herein as it has engaged in the

                   unauthorized production, development and removal of gas owned by Plum Creek, or,

                   alternatively, as an interested party as it purports to be the Unit Operator and statutory lessee of

                   gas in these Drilling Units/Wells pursuant to Va. Code § 45.1-361.21(D).

                            9.        Defendant Range Resources – Pine Mountain, Inc. f/k/a Pine Mountain Oil and

                   Gas, Inc. ("Range Resources") is a corporation organized under the laws of the state of

                   Pennsylvania with its principal place of business in Fort Worth, Texas. Defendant Range

                   Resources is the holder of certain mineral rights and claims to be owner of CBM rights under

                   certain VGOB Orders establishing pooling interests in Drilling Units/Wells in Buchanan County,

                   Virginia, which gas rights are identified in such Orders in the name of Range Resources and

                   Clinchfield Coal Company (predecessor by deed of Range Resources). Consequently, Range
WOODS ROGERS PLC
ATTORNEYS AT LAW   Resources is a current conflicting claimant to CBM rights in certain Drilling Units/Wells to

                   which Plum Creek is a successor in title and interest. Range Resources also has executed split




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                   agreements with one or more of the C. G. Jackson Record Owners which purport to establish the

                   basis for the release of certain escrowed funds and which purport to set forth an agreed division

                   of future royalties. Range Resources is also a Unit Operator and a statutory lessee of gas in one

                   or more Drilling Units/Wells pursuant to Va. Code § 45.1-361.21(D).

                            10.       All unknown persons /entities who claim an interest in gas Drilling Units/Wells in

                   the watersheds of Levisa River, Dismal Creek and their tributaries in Buchanan County, Virginia

                   in or through Gallie Friend, Trustee, Estate of Yellow Poplar Lumber Company or similar

                   designation, are potentially interested parties and are made defendants herein as "Parties

                   Unknown." ).

                            11.       The Commonwealth of Virginia, Department of Mines, Minerals and Energy,

                   Division of Gas and Oil is a named defendant and interested party as this case questions the

                   validity of certain Virginia Gas and Oil Board pooling orders and the constitutionality of certain

                   provisions of the Virginia Gas and Oil Act, Va. Code §§ 45.1-361.1 et seq.

                            12.       Conrad Spangler is a named defendant in his official capacity as Director,

                   Virginia Department of Mines, Minerals and Energy, an agency of the Commonwealth of

                   Virginia. In that capacity, Spangler is responsible for exercising the powers and performing the

                   duties conferred or imposed on him by law in connection with the administration of the

                   Department, including its Division of Gas and Oil.

                            13.       The Virginia Gas and Oil Board (“VGOB”) is a Board established under the laws

                   of the Commonwealth of Virginia, § 45.1-361.13, and has the powers and duties specified under

                   the Virginia Gas and Oil Act, including administering procedures for the recognition and
WOODS ROGERS PLC
ATTORNEYS AT LAW   protection of the rights of gas or oil owners with interests in coalbed methane gas resources

                   contained within a pool, entering pooling orders and establishing practices and procedures before




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                   the Board. This case questions the validity of certain VGOB pooling orders and the

                   constitutionality of certain provisions of the Virginia Gas and Oil Act, Va. Code §§ 45.1-361.1 et

                   seq. as applied by VGOB under the circumstances presented.

                            14.       Bradley C. Lambert is made a defendant in his official capacity as Chairman,

                   Virginia Gas and Oil Board.

                            15.       The following additional Defendants have been named as interested parties herein

                   because they are the purported record owners of certain rights in real property which is the

                   subject of VGOB pooling orders which also purport to pool the gas interests of Yellow Poplar,

                   Unknown, and which pooling orders, for reasons set forth more fully herein, Plum Creek seeks to

                   have declared void:

                                      (a)          Levisa Coal Company is a Virginia limited partnership and L.L.P. with its

                            principal office in Richmond, Texas;

                                      (b)          MGM Methane Corporation, a corporation organized under the laws of

                            Virginia with its principal office in Grundy, Virginia;

                                      (c)          War Fork Coal Partnership, a Virginia partnership with its principal office

                            in Bristol, Virginia;

                                      (d)          Fairview Limited Partnership, a Virginia partnership with its principal

                            office in Richmond, Texas;

                                      (e)          CNX Gas Company, LLC, a Virginia limited liability company with its

                            principal office in Pittsburgh, Pennsylvania;

                                      (f)          John C. Irvin, located at 4710 Hunterwood Circle, Richmond, Texas;
WOODS ROGERS PLC
ATTORNEYS AT LAW                      (g)          Carol C. Irvin, located at 4710 Hunterwood Circle, Richmond, Texas;

                                      (h)          Martha E. Combs, located at 310 Bradley Street, Abingdon, Virginia;




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                                      (i)          John W. Pobst, Jr., located at 24 Woodland Drive, Upper Black Eddy,

                            Pennsylvania;

                                      (j)          Amy Combs, Trustee, F.H. Combs Testamentary Trust, located at 125

                            Combs Court, Tazewell, Virginia;

                                      (k)          Eric Combs, Trustee, F.H. Combs Testamentary Trust located at125

                            Combs Court, Tazewell, Virginia;

                                      (l)          Virginia Linwick, located at 4324 South Ball Drive, Veradale,

                            Washington;

                                      (m)          Phillip G. Linwick, located at 4324 South Ball Drive, Veradale,

                            Washington;

                                      (n)          Richard K. Pobst, located at 1024 Oxford Dr., St. Augustine, Florida;

                                      (o)          Catherine Pobst, located at 111 Postelle St. Cartersville, Georgia;

                                      (p)          Meredith E. Jennings, located at 542 Butler Mill Rd., Maryville,

                            Tennessee;

                                      (q)          Hurley Ratliff, located at 1058 Willie Rd. Vansant, Virginia;

                                      (r)          Joseph Dewayne Tiller, located at 1196 Mahagony Rd., Honaker,

                            Virginia;

                                      (s)          Fate Gains Compton, located at 251 Decatur Rd., Stafford, Virginia; and

                                      (t)          Patricia Compton, located at 8240 Beatrice St., Westland, Michigan.


                                                            JURISDICTION AND VENUE

                            16.       The subject of this Cause involves the issue of rights and damage relating to real
WOODS ROGERS PLC
ATTORNEYS AT LAW
                   property located in Buchanan County, Virginia making venue appropriate in this Court under 28

                   U.S.C. § 1391(b)(2). Moreover, this Court has subject matter jurisdiction over this action




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                   pursuant to federal question jurisdiction under 28 U.S.C. § 1331 because this action arises under

                   the Constitution of the United States. This Court also has supplemental jurisdiction over

                   Plaintiff’s claims under 28 U.S.C. § 1367.

                                                              BACKGROUND

                            A.        The Gallie Friend Conveyance of Yellow Poplar Property

                            17.       By deed dated January 5, 1906, recorded in the Clerk's Office of the Circuit Court

                   of Buchanan County, Virginia, in Deed Book 30, Page 226, Excelsior Coal and Lumber

                   Company conveyed fourteen (14) tracts of land to Yellow Poplar Lumber Company. All or a

                   portion of Tracts 1, 2, 7, 8, 9, 10, 11 and 13 were located in Buchanan County, Virginia. Tract

                   10 conveyed what was described generally as "a tract of land or parcel situate on the waters of

                   the Big Pawpaw and Big Fox Creek in Buchanan County, Virginia, consisting of surface rights

                   only and containing one thousand acres, more or less." A metes and bounds description of Tract

                   10 also is included in the deed. Tract 11 conveyed certain rights, including all rights and interest

                   to gas, in “a tract of land situate on the waters of the Big Pawpaw and Big Fox Creek in

                   Buchanan County, Virginia consisting of 3,877 and ½ acres, more or less.” A metes and bounds

                   description of Tract 11 also is included in the deed.

                            18.       To clear Yellow Poplar's title to Tracts 10 and 11, Jessee and Emma Beam, by

                   Instrument dated May 16, 1906, recorded in the Clerk’s Office of the Circuit Court of Buchanan

                   County, in Deed Book 32, Page 146, quitclaimed all their interest in 3,877 and ½ acres, more or

                   less, which acreage had previously been conveyed to Yellow Poplar by Excelsior Coal and

                   Lumber Company.
WOODS ROGERS PLC
ATTORNEYS AT LAW            19.       By deed of trust dated January 4, 1927, recorded in the Clerk's Office of the

                   Circuit Court of Buchanan County, Virginia, at Trust Deed Book 3, Page 213, Yellow Poplar




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                   granted and conveyed in trust "all of the tracts, peices (sic) or parcels of land, or interests in land

                   owned by [Yellow Poplar] on the watersheds of Levisa River and Dismal Creek and their

                   tributaries in said Buchanan County, Virginia" to Edwin Mann, as Trustee, to secure to W.M.

                   Ritter the payment of a promissory note in the principal sum of $131,678.00.

                            20.       Upon the Petition of White Oak Lumber Company, by Decree dated November 7,

                   1928, recorded in the Clerk's Office of the Circuit Court of Buchanan County, Virginia at Deed

                   Book 64, Page 473, Yellow Poplar was declared and adjudged a bankrupt by the United States

                   District Court for the Western District of South Carolina in Case No. B-1101.

                            21.       Thereafter, on December 3, 1928, the United States District Court for the Western

                   District of South Carolina appointed and duly qualified Gallie Friend as Trustee for the Bankrupt

                   Estate of Yellow Poplar. Among other things, Yellow Poplar defaulted on the promissory note

                   to W.M. Ritter.

                            22.       By Decree dated September 13, 1929, recorded in the Clerk's Office of the Circuit

                   Court of Buchanan County, Virginia in Deed Book 64, Page 471, the United States District Court

                   for the Western District of South Carolina authorized and directed Gallie Friend to grant and

                   convey by deed, with covenants of special warranty, to W.M. Ritter, free from all taxes,

                   assessments, liens and encumbrances, all those lands which were the subject of the January 4,

                   1927 deed of trust in full satisfaction of Yellow Poplar's indebtedness to W.M. Ritter.

                            23.       Under authorization of the September 13, 1929 Decree, Gallie Friend, Trustee of

                   the Bankrupt Estate of Yellow Poplar, by deed dated September 21, 1929, recorded in the Clerk's

                   Office of the Circuit Court of Buchanan County, Virginia at Deed Book 64, Page 473, attached
WOODS ROGERS PLC
ATTORNEYS AT LAW   hereto as Exhibit A, conveyed to W.M. Ritter four specific tracts of land containing

                   approximately 4,389.29 acres situate on the watersheds of Levisa River and Dismal Creek, and




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                   their tributaries, in Buchanan County, Virginia, as more particularly described in the deed. In

                   addition, the deed contained the following language of conveyance:

                            It being the intention to embrace herein and convey hereby all of the tracts, pieces
                            or parcels of land, or interests in land owned by Yellow Poplar Lumber Company
                            on the watersheds of Levisa River and Dismal Creek and their tributaries in said
                            Buchanan County, Virginia, whether herein above described, or referred to, or
                            not.

                            24.       Both Dismal Creek and Russell Fork are tributaries of the Levisa River (also

                   known as Levisa Fork).

                            25.       The term “watershed” is a scientific term used to refer to an area of land from

                   which rainfall runoff drains to one stream through a network of tributaries. The term

                   “watershed” may be applied to the drainage area of a very small, short stream and also to larger

                   and longer streams up to the largest rivers of the continent. A “subwatershed” of a watershed is

                   also a scientific term which refers to the drainage area of a tributary of the main stream and is

                   completely contained within the area of the watershed.

                            26.       The watersheds of the Levisa River and its tributaries in Buchanan County

                   include the Dismal Creek and Russell Fork subwatersheds. The Levisa River watershed is

                   graphically depicted in Exhibit C, a copy of which is attached hereto and incorporated herein,

                   and consists of the entire southern and western portions of Buchanan County.

                            27.       Consequently, the Gallie Friend Deed conveyed to W.M. Ritter "all tracts, pieces

                   or parcels of land or interests in land owned by Yellow Poplar" on September 21, 1929, in the

                   area graphically depicted as the Levisa River watershed in Buchanan County, Virginia in

                   Exhibit C.
WOODS ROGERS PLC
ATTORNEYS AT LAW            28.       At the time of the deed of trust to Edwin Mann and the Gallie Friend Deed,

                   Yellow Poplar owned Tracts 10 (surface rights in 1,000 acres) and Tract 11 (gas rights in 3,877.5




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                   acres) as described in the January 5, 1906 deed from Excelsior Coal and Lumber Company to

                   Yellow Poplar Lumber Company. Tracts 10 and 11 are located in the watershed of Levisa River

                   and its tributaries in Buchanan County, Virginia, and were conveyed to W.M. Ritter by the

                   Gallie Friend Deed.

                            B.        Plum Creek is Successor in Title to Yellow Poplar Property In Levisa River
                                      Watershed Previously Conveyed to W.M. Ritter

                            29.       As evidenced by an instrument dated September 30, 1960, recorded in the Clerk's

                   Office of the Circuit Court of Buchanan County, Virginia in Deed Book 145, Page 544, W. M.

                   Ritter merged into Georgia-Pacific Corporation. At the time of the merger, W. M. Ritter owned

                   the Yellow Poplar real property transferred by the Gallie Friend Deed to W. M. Ritter.

                            30.       By Quit Claim Deed dated April 16, 1999, recorded in the Clerk's Office of the

                   Circuit Court of Buchanan County, Virginia, in Deed Book 500, Page 214, Georgia-Pacific

                   Corporation conveyed to North American Timber Corp. its right, title and interest to all real

                   property, including all right, title and interest to coal, oil, gas, coalbed methane and other

                   minerals of every kind owned by Georgia-Pacific Corporation in Buchanan County, Virginia. At

                   the time of the deed, Georgia-Pacific owned the Yellow Poplar real property transferred by the

                   Gallie Friend Deed to W. M. Ritter.

                            31.       As evidenced by a Certificate of Merger, recorded in the Clerk's Office of the

                   Circuit Court of Buchanan County, Virginia, dated December 6, 2001, in Deed Book 535, Page

                   756, North American Timber Corp. merged into and became Plum Creek Timber Company, Inc.

                   effective October 6, 2001. At the time of the merger, North American Timber Corp. owned the

                   Yellow Poplar real property transferred by the Gallie Friend Deed to W. M. Ritter.
WOODS ROGERS PLC
ATTORNEYS AT LAW
                            32.       By Quitclaim deed dated October 6, 2001, recorded in the Clerk's Office of the

                   Circuit Court of Buchanan County, Virginia, on December 6, 2001, in Deed Book 535, page 777,




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                   Plum Creek Timber Company, Inc. conveyed all of its right, title and interest in and to any real

                   property situate in Buchanan County, Virginia, including "gas, CBM and other minerals of every

                   kind and character in or under any and all real property situate in said county" to Plaintiff Plum

                   Creek Timberlands, L.P. At the time of the deed, Plum Creek Timber Company owned the

                   Yellow Poplar real property transferred by the Gallie Friend Deed to W. M. Ritter.

                            33.       As a result of the foregoing, Plaintiff Plum Creek Timberlands, L.P. is the

                   successor in title to and the sole and exclusive legal and beneficial owner of the Yellow Poplar

                   real property captured by the catchall and situate on the watersheds of Levisa River and Dismal

                   Creek, and their tributaries, in Buchanan County, Virginia as shown in Exhibit C, including

                   Tracts 10 and 11, which property was transferred by the Gallie Friend Deed to W. M. Ritter.

                            C.        Conveyance of Yellow Poplar Property in Levisa River Watershed By Gallie
                                      Friend and Others After September 21, 1929 Is Null, Void and of No Effect

                            34.       By Instrument dated October 16, 1930, recorded at Deed Book 65, Page 593 in

                   Buchanan County, Virginia, Gallie Friend purported to convey to C. G. Jackson the following

                   (with emphasis added):

                                   All that certain tract or parcel of land, situate, lying and being in Buchanan
                            County, Virginia, on the waters of Big Paw Paw Creek of Russell Fork River,
                            containing one thousand (1,000) acres, more or less, but sold by the boundary and
                            not by the acre, and being the same tract or parcel of land heretofore obtained by
                            the Yellow Poplar Lumber Company, a corporation, from Excelsior Coal and
                            Lumber Corporation, by deed dated January 5, 1905, and recorded in the Clerk's
                            Office of the Circuit Court of Buchanan County, Virginia, in Deed Book ___,
                            page ___, and in the Clerk's Office of the Circuit Court of Dickenson County,
                            Virginia, in Deed Book No. 25, page 476, et seq., being set out and described in
                            said deed by metes and bounds as Tract No. 10, to which deed special
                            reference is here made for a more particular description of said tract of land.

                            35.       The 1,000 acres identified as Tract 10 in the Excelsior Coal and Lumber
WOODS ROGERS PLC
ATTORNEYS AT LAW
                   Company deed to Yellow Poplar purportedly conveyed by Instrument dated October 16, 1930 to

                   C. G. Jackson is situate in the Levisa River watershed as depicted in Exhibit C, and was




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                   previously conveyed by the Gallie Friend Deed to W. M. Ritter. The Instrument dated October

                   16, 1930 is therefore null, void and of no effect.

                            36.       Defendants Edwin F. Lagard, Jr., Elizabeth Anne Cox, Trustee, William B. Baker,

                   Jr., Trustee, Charles Bartlett, M.D., Chesapeake Appalachia, LLC, Lydia V. Newberry,

                   Heartwood Forestland Fund, Marlene McCall, Donna Vest, Donald A. McGlothlin, Jr., Mary L.

                   McGlothlin Burton, Leah Anne McGlothlin and Kevin T. McGlothlin, Karen Stiltner, Rita C.

                   Coleman, Betty Sue Sutherland, Ruby Jean Hill, Danny Carl Owens, Rebecca L. Bowman

                   Rakes, Cindy K. Bowman, Matthew Trivett, Michael Trivett, Jody B. Baldwin, Jessica Baldwin,

                   Bonnie Hunt, Rita Simmons, Douglas Coleman, Clinton Coleman, Eugene Coleman, Barbara

                   Charles, Susie Charles, Ira J. Coleman, Lena Everman, Mary Coleman, Irving Coleman, Barbara

                   Ellen Coleman, Regina Lynn Lewis, Jerry L. Coleman, Barbara Ann Coleman, G. W. Charles,

                   Phoeba Charles, and Parties Unknown (collectively the “C. G. Jackson Record Owners”) are

                   each identified in the land records of Buchanan County, Virginia as claiming rights in some

                   portion of the 1,000 acres through the Instrument dated October 16, 1930, from Gallie Friend to

                   C. G. Jackson which Instrument is null, void and of no effect. Each of the deeds/leases of these

                   defendants to such property, along with the mesne conveyances in each of their chains of title

                   constitute a cloud on the rightful title of Plum Creek to the 1,000 acres, more or less.

                            37.       In addition, certain of the Defendants or their predecessors have been identified as

                   being the gas or CBM owner or lessee in certain Drilling Units/Wells established by VGOB

                   Order, as shown in Exhibit D, a copy of which is attached hereto and incorporated herein. These

                   Drilling Units/Wells are located on some portion of the 1,000 acres which purportedly passed to
WOODS ROGERS PLC
ATTORNEYS AT LAW   these Defendants through the Instrument dated October 16, 1930, from Gallie Friend to C. G.

                   Jackson. Each of the VGOB Orders identified have been placed among the land records of




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                   Buchanan County, Virginia and constitute a cloud on the rightful title of Plum Creek to the 1,000

                   acres, more or less.

                            38.       Additionally, certain of the C.G. Jackson Record Owners have executed split

                   agreements with Range Resources which purport to establish the basis for the release of certain

                   escrowed funds and which purport to set forth an agreed division of future royalties. These split

                   agreements are null, void and of no effect and constitute a cloud on the title of Plum Creek to the

                   gas interests once owned by Yellow Poplar.

                            39.       None of the C.G. Jackson Record Owners have commercially drilled, mined, or

                   otherwise removed gas from the portion of the 1,000 acres they claim herein for a continuous

                   period of fifteen years preceding the date of filing of this Complaint for Declaratory Relief.

                            40.       Plum Creek is interested only in asserting its rights to the mineral interests in the

                   1,000 acres, including gas rights. Plum Creek is willing to quitclaim surface rights to the C. G.

                   Jackson Record Owners (with appropriate reservations and exceptions) at their request.

                            D.        Plum Creek is the Owner of Gas Rights in Each Gas Well Located in the Levisa
                                      River Watershed In Buchanan County, Virginia Which Identifies the Gas
                                      Rights Owner As "Yellow Poplar, Unknown" As Well As Certain Drilling
                                      Units/Wells Pooling Gas From Property Claimed By The C. G Jackson Record
                                      Owners; Claims to Gas Rights in These Drilling Units/Wells Which Conflict
                                      With Those of Plum Creek Should Be Invalidated.

                            41.       VGOB has entered Orders pooling or otherwise identifying the gas interests of

                   various gas owners in Buchanan County, Virginia in order to develop and establish certain

                   Drilling Units/Wells to be operated by EQT, Range Resources and Chesapeake Appalachia, LLC

                   f/k/a Columbia Natural Resources, LLC.

                            42.       The gas owner of seventy-two (72) of these Drilling Units/Wells are identified as
WOODS ROGERS PLC
ATTORNEYS AT LAW   "Gallie Friend, Trustee of the Estate of Yellow Poplar Lumber Company, Unknown" or "Yellow

                   Poplar Lumber Company, Unknown" or some similar designation. Plaintiff lacks information




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                   with regard to two additional Drilling Units/Wells.1 Two other Drilling Units/Wells show gas

                   interests in the name of one or more C.G. Jackson Record Owners and no interest by Yellow

                   Poplar Lumber Company.

                            43.       A complete listing of these Drilling Units/Wells is set out in Exhibit E, a copy of

                   which is attached hereto and incorporated herein.

                            44.       The map attached hereto and incorporated herein as Exhibit F identifies the

                   location of each of the Drilling Units/Wells identified in Exhibit E as situate on land located in

                   the watershed of Levisa River and its tributaries in Buchanan County, Virginia.

                            45.       Plum Creek is the actual gas estate owner in each of the Drilling Units/Wells

                   which identify the owner as Yellow Poplar, Unknown, and which are identified in Exhibit E.

                            46.       The Drilling Units/Wells identified in Exhibit E were established by VGOB

                   Order upon the application of Defendant EQT, Range Resources or Chesapeake Appalachia,

                   LLC f/k/a Columbia Natural Resources, LLC. Under such Orders, Defendant EQT, Range

                   Resources and/or Chesapeake Appalachia, LLC is the purported “deemed” lessee of the gas in

                   the Drilling Units/Wells owned by Plum Creek as successor in title to Yellow Poplar.

                            47.       Upon information and belief, Yellow Poplar may be the owner of gas rights in

                   various other Drilling Unit/Wells which are not the subject of a VGOB Order, or if it is, such

                   Order has not been made publicly available.

                            48.       Neither the Director nor the VGOB have statutory or regulatory authority to

                   decide matters involving interpretation of contracts or deeds and are therefore without legal

                   authority to correct the Unknown Owner or resolve conflicting claims to gas interests in the
WOODS ROGERS PLC
ATTORNEYS AT LAW   Drilling Units/Wells identified in Exhibit E absent an Order of this Court.

                            1
                           At the time of filing, information regarding the ownership percentage of two Drilling
                   Units/Wells (VC502918 and VCI539008) was unavailable through the online database
                   maintained by the VGOB.


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                            49.       VGOB Orders identifying Yellow Poplar, Unknown have been placed among the

                   land records of Buchanan County, Virginia, and cause a cloud on the title of Plum Creek to the

                   gas interests once owned by Yellow Poplar.

                            50.       Upon representation made by EQT and Ranges Resources, VGOB entered Orders

                   whereby Range Resources is identified as a conflicting claimant to CBM in each of the Drilling

                   Units/Wells identified in Exhibit E.

                            51.       Range Resources has accepted, adopted and ratified its own and EQT’s

                   representations that Range Resources is a conflicting claimant in CBM in each of the Drilling

                   Units/Wells identified in Exhibit E. Range Resources has not advised VGOB to the contrary or

                   made any effort to correct or modify VGOB Orders adopting such representations.

                            52.       Range Resources asserts conflicting claims to CBM in the Drilling Units/Wells

                   identified in Exhibit E, and such claims derive exclusively from its or its grantor’s alleged

                   ownership of the coalbed in the Drilling Unit/Well at issue.

                            53.       Under Virginia law, a conveyance, reservation, or exception of coal shall not be

                   deemed to include coalbed methane. Va. Code § 45.1-361.21:1. See also Harrison-Wyatt, LLC

                   v. Ratliff, 267 Va. 549, 593 S.E. 2d 234 (2004).

                            54.       Plum Creek's CBM rights in each of the Drilling Units/Wells identified in Exhibit

                   E were severed from any mineral interest in coal or oil and conveyed by deed to Plum Creek's

                   predecessors-in-interest and to Plum Creek.

                            55.       Plum Creek is the sole and exclusive legal and beneficial owner of the CBM

                   rights identified in Exhibit E in the name of Yellow Poplar, Unknown, or in the name of a C. G.
WOODS ROGERS PLC
ATTORNEYS AT LAW   Jackson Record Owner (or its predecessor). Neither EQT nor Range Resources has any

                   ownership interest in such CBM.




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                            56.       Defendants Edwin F. Lagard, Jr., Elizabeth A. Cox, Trustee, William B. Baker,

                   Jr., Trustee, Charles Bartlett, M.D., Chesapeake Appalachia, LLC, Lydia V. Newberry, Marlene

                   McCall, Donna Vest, Donald A. McGlothlin, Jr., Mary L. McGlothlin Burton, Leah Anne

                   McGlothlin, and Kevin T. McGlothlin have been identified as successors (or lessees of

                   successors) to the purported record owners of CBM rights in the Drilling Units/Wells identified

                   in Exhibit D.

                            57.         The claims of Defendants Edwin F. Lagard, Jr., Elizabeth A. Cox, Trustee,

                   William B. Baker, Jr., Trustee, Charles Bartlett, M.D., Chesapeake Applachia, LLC, Lydia V.

                   Newberry, Marlene McCall, Donna Vest, Donald A. McGlothlin, Jr., Mary L. McGlothlin

                   Burton, Leah Anne McGlothlin, and Kevin T. McGlothlin, to CBM in the Drilling Units/Wells

                   identified in Exhibit D derive exclusively from their chain of title leading back to the C. G.

                   Jackson Deed. The C. G. Jackson Deed is null, void and of no effect for the reasons set forth

                   above. In addition such deed, even if given effect, conveyed only surface rights and no gas

                   rights in the property at issue.

                            58.       Plum Creek's CBM rights in each of the Drilling Units/Wells identified in Exhibit

                   D were severed from any mineral interest in surface and conveyed by deed to Plum Creek's

                   predecessors-in-interest and to Plum Creek.

                            59.       Plum Creek is the sole and exclusive legal and beneficial owner of the rights in

                   and to CBM in the Drilling Units/Wells identified in Exhibit D as being owned or leased by

                   Defendants Edwin F. Lagard, Jr., Elizabeth A. Cox, Trustee, William B. Baker, Jr., Trustee,

                   Charles Bartlett, M.D., Chesapeake Appalachia, LLC, Lydia V. Newberry, Marlene McCall,
WOODS ROGERS PLC
ATTORNEYS AT LAW   Donna Vest, Donald A. McGlothlin, Jr., Mary L. McGlothlin Burton, Leah Anne McGlothlin,

                   and Kevin T. McGlothlin.




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                            E.        Statutory Notice Requirements Were Not Complied With In Force-Pooling Gas
                                      Rights of Owner “Yellow Poplar, Unknown” (i.e., Plum Creek)

                            60.       Under the Gas Act, upon the application of a gas or oil owner, VGOB is required

                   to enter an order pooling all interests in a coalbed methane gas (“CBM”) drilling unit for

                   development and operation where, among other things, two or more separately owned tracts are

                   embraced within the unit or there are separately owned interests in the drilling unit which have

                   not agreed to pool their interests. Va. Code § 45.1-361.21.

                            61.       In addition, where there are conflicting claims to the ownership of CBM, VGOB,

                   upon application of “a claimant” who is a gas or oil owner, shall enter an order pooling all

                   interests or estates in the CBM drilling unit for the development and operation thereof. Va. Code

                   § 45.1-361.22.

                            62.       Typically (but not always, as hereafter indicated), a CBM Unit is comprised of

                   two or more separately owned tracts. The CBM is allocated among the separate tracts on a

                   proportionate acreage basis (i.e., on the same basis that the acreage of a tract bears to the total

                   acreage in the CBM Unit).

                            63.       By statute and regulation, VGOB is to hold a hearing to determine the terms

                   under which a pooling order may be entered, including, among other things, defining the drilling

                   unit and the location of the well, identifying the tracts comprising the drilling unit and the

                   acreage in each tract, identifying all gas estate owners in the drilling unit and the portion of the

                   unit assigned to each owner’s interest, designating the gas owner who is authorized to drill and

                   operate the well, prescribe conditions under which a gas owner may become a participating

                   operator or exercise rights of election, establish the sharing of reasonable costs between
WOODS ROGERS PLC
ATTORNEYS AT LAW
                   participating operators, and identify those claimants who interests are subject to escrow. Va.

                   Code § 45.1-361.21. The pooling order also provides for the establishment of an escrow




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                   account into which monies attributable to contested CBM ownership interests and unknown

                   “deemed lessors” shares are to be deposited. Va. Code §§ 45.1-361.21(D) and -361.22(2) - (4).

                            64.       If VGOB approves the application, it enters a pooling order following the hearing

                   and provides the known owners of gas interests in the CBM Unit a period of time (typically

                   thirty days) to elect one of several options: (1) sell or lease their interest to the operator, (2)

                   become a “participating operator” by paying their share of the costs of the well, or (3) share in

                   the revenues from the well on a carried basis as a “nonparticipating operator.” Va. Code § 45.1-

                   361.21C(7). However, if the owner remains unknown at the conclusion of the hearing, the

                   opportunity to elect is forfeited. Rather, at the conclusion of the hearing the unknown owner

                   “shall be deemed to have elected to lease his interest” to the well operator. Va. Code §§ 45.1-

                   361.21(D) and (E); 45.1-361.22(6). In addition, any person who fails to make an election “shall

                   be deemed to have leased” his interest to the well operator. Va. Code §§ 45.1-361.21(E) and -

                   361.22(6).

                            65.       Under the circumstances of a “deemed” lease from an unknown owner, the well

                   operator is required to place in escrow one-eighth of net proceeds attributable to the unknown

                   owner’s interests for the benefit of the unknown owner, and keeps for itself the remaining seven-

                   eighths of CBM production. The well operator also is required to place into escrow the CBM

                   proceeds attributable to any “conflicting interests” plus all proceeds in excess of ongoing

                   operational expenses as provided under the pooling order attributable to participating or

                   nonparticipating operators. Va. Code § 45.1-361.22(4).

                            66.       Under the Gas Act, the applicant for the pooling order (and supplemental orders)
WOODS ROGERS PLC
ATTORNEYS AT LAW   is required to provide written notice pursuant to provisions of Va. Code § 45.1-361.19 to each

                   person identified as a potential CBM owner underlying the tracts within the CBM Unit, and to




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                   “promptly notify” the VGOB where written notice is not possible due to the unknown identity or

                   location of a person to whom notice is required.

                            67.       Prior to July 1, 2008, Va. Code § 45.1-361.19(B) required that the Board, twenty

                   days in advance of the hearing:

                            cause a notice of the hearing to be published in a newspaper of general circulation
                            in the county or city where the land or major portion thereof which is the subject
                            of the hearing is located. Such notice shall be published at least twenty days in
                            advance of the hearing date and shall include, at a minimum, the name of the
                            applicant, a description of the location of the land which is the subject of the
                            hearing, the purpose of the hearing, and the date, time and location thereof.

                            68.       As of July 1, 2008, Va. Code § 45.1-361.19(B) was amended to read;

                            At least 10 days prior to a hearing, the Board shall publish its agenda in
                            newspapers of general circulation that are widely circulated in the localities where
                            the lands that are the subject of the hearing are located. The agenda shall include
                            the name of each applicant, the localities where the lands that are the subject of
                            the hearing are located, the purpose of the hearing, and the date, time and location
                            thereof.

                            69.       Where a person to whom notice is required is unknown at the time of the

                   application, VGOB regulations require that “the applicant for the hearing shall cause a notice to

                   be published in a newspaper of general circulation in the county, counties, city or cities where

                   the land or a major portion thereof which is the subject of the application is located.” 4 VAC 25-

                   160-40(C) (Notice of hearings). According to the regulation, the notice shall include:

                                              (1)     The name and address of the applicant;
                                              (2)     A description of the action to be considered by the board;
                                              (3)     A map showing the general location of the area which
                                      would be affected by the proposed action or a description which clearly
                                      describes the location or boundaries of the area which would be affected
                                      by the proposed action sufficient to enable local residents to identify the
                                      area;
                                              (4)     The date, time and location of the hearing at which the
WOODS ROGERS PLC
ATTORNEYS AT LAW                      application is scheduled to be heard; and
                                              (5)     How interested persons may obtain additional information
                                      or a complete copy of the application




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                            70.       EQT has filed applications with VGOB to permit pooling in numerous CBM

                   drilling units where it identified the CBM owner as Yellow Poplar, Unknown (now known to be

                   owned by Plum Creek), all of which units are located in Buchanan County, Virginia. In many of

                   these drilling units, EQT comprised the unit of one tract and identified the gas rights as being

                   owned “100%” by Yellow Poplar, Unknown. EQT also misrepresented, under oath that Range

                   Resources, the coal estate only owner, was a conflicting claimant to the gas rights in the CBM

                   Unit.

                            71.       EQT identified the wells for the drilling units being challenged herein as being

                   within the boundaries of Yellow Poplar’s (now Plum Creek’s) gas rights.

                            72.       Although required by statute to name all “potential owners” in its applications,

                   and to provide actual notice to such “potential owners,” EQT did not name or provide any actual

                   notice of its applications to Plum Creek or anyone in its chain of title. EQT nevertheless

                   misrepresented under oath to VGOB that it had notified all parties required to be notified under

                   the statute.

                            73.       When notices were published for the applications for the Yellow Poplar pooling

                   orders (and supplemental orders), EQT published many of the notices of hearing and the hearing

                   agendas, if any, in The Coalfield Progress.

                            74.       The Coalfield Progress is (and has been) a newspaper headquartered in Norton,

                   Virginia with a circulation in Wise County, Virginia. The Coalfield Progress is not a newspaper

                   of general circulation in Buchanan County, Virginia. EQT’s notices did not meet the strict

                   requirements of Virginia law.
WOODS ROGERS PLC
ATTORNEYS AT LAW            75.       In addition, EQT’s notices of publication make no mention of Yellow Poplar

                   Lumber Company as last known owner or Plum Creek Timberlands, L.P. as potential owner.




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                   The notices also fail to provide “a map showing the general location of the area which would be

                   affected by the proposed action.” The notices also contain no deed references, fail to name

                   boundary owners, fail to reference tax maps or provide such other “description which clearly

                   describes the location or boundaries of the area which would be affected by the proposed action

                   sufficient to enable local residents to identify the area.” Finally, the notices fail to indicate the

                   action to be considered by VGOB and the consequences of failing to appear at the hearing, i.e.,

                   that the unknown would forfeit seven-eighths of its gas interests to the well operator/applicant,

                   even if the operator had no ownership interest in the CBM drilling unit.

                            76.       EQT’s failure to name Plum Creek as a potential owner and provide it actual

                   notice as required by statute, its misrepresentations to VGOB, its failure to identify Plum Creek

                   or Yellow Poplar or any other entity in the chain of title in the published notice for the pooling

                   order hearing, its identification of Range Resources as an interested party even though EQT

                   knew it had no interest in CBM, its publication in a newspaper not of general circulation in the

                   locale where the property was located and its denial to Plum Creek of its right to elect were all

                   actions taken by EQT to fraudulently conceal EQT’s unlawful efforts to gain access to and

                   control of Plum Creek’s property interests, gas, and rightful proceeds for the sale of that gas

                   through VGOB pooling orders. EQT’s misconduct fraudulently concealed and obstructed the

                   existence of Plum Creek’s causes of action by cloaking EQT’s conduct under the mantle of state

                   authority.

                            77.       VGOB granted each and every application submitted by EQT identifying Yellow

                   Poplar, Unknown. An example of an EQT application for a pooling order for a tract of gas rights
WOODS ROGERS PLC
ATTORNEYS AT LAW   owned by Yellow Poplar, Unknown, a VGOB pooling order, supplemental order and certificate

                   of publication prepared by or for EQT is attached hereto as Exhibit G.




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                            78.       Because EQT and/or VGOB did not comply with Virginia law in the notice and

                   issuance of forced-pooling orders involving Yellow Poplar, Unknown, Plum Creek, as successor-

                   in-interest to Yellow Poplar, Unknown has been denied due process of law, and each and every

                   such forced-pooling order and supplemental order is unenforceable and void ab initio.

                            79.       As the operator of the Yellow Poplar CBM drilling units, EQT drilled the wells,

                   produced CBM from each of the wells, and sold the CBM. As EQT had no legal authority to

                   produce and sell CBM owned by Plum Creek (as successor of Yellow Poplar), Plum Creek seeks

                   an award of damages equal to eight-eighths of the value of all CMB produced and taken from

                   these wells, together with interest thereon, and any monetary or economic benefits or profits

                   derived therefrom by EQT based on the legal theories of trespass, conversion and unjust

                   enrichment. Plum Creek further seeks to enjoin EQT’s continued trespass and conversion

                   through removal of additional CBM attributable to Plum Creek’s interests without Plum Creek’s

                   agreement or by proper authority under law.

                            F.        The Virginia Gas and Oil Act Provides for an Unconstitutional Taking of Plum
                                      Creek’s Property As The Act is Applied in this Instance

                            80.       The Gas Act with regard to CBM does not merely apportion rights among mineral

                   owners. Instead, it allows for the forced-pooling of CBM interests for their development and

                   production without the request or consent of a single CBM owner in a drilling unit. The Gas Act

                   requires forced-pooling of CBM rights upon application by “any applicant” in any case where

                   conflicting claims to ownership of CBM exists. See Va. Code Ann. Sect. 45.1-361.22. The

                   person seeking the establishment and forced-pooling of a CBM drilling unit does not have to

                   prove any ownership interest in the affected CBM estate. Indeed, as with EQT’s purported
WOODS ROGERS PLC
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                   interests here in the Yellow Poplar CBM Units, the interest of EQT as the applicant derived from

                   a lease from Range Resources of its gas interests which EQT knew were nonexistent. The




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                   language of the Gas Act permits a potential operator which may have no true CBM ownership

                   rights whatsoever, to apply to establish a forced-pooled CBM drilling unit consisting of only one

                   gas owner which is unconsenting (and, at the time, unknown), and be designated as CBM well

                   operator.

                            81.       Here, under the auspices of the Act, EQT applied for forced-pooling orders to

                   establish numerous CBM drilling units where the gas rights were identified by EQT as 100%

                   owned by Plum Creek’s predecessor in title, Yellow Poplar, Unknown. In other words, there

                   was only one tract in each of these CBM Units, and that tract of gas rights was owned

                   completely by Yellow Poplar / Plum Creek.

                            82.       Though by the time of its applications the law had been clearly established in

                   Harrison-Wyatt, LLC v. Ratliff, 267 Va. 549, 593 S.E.2d 234 (2004), that a severed coal estate

                   only owner had no interest in the CBM estate, EQT falsely asserted that the coal only estate

                   owner Range Resources was a conflicting claimant in each unit. VGOB entered the force-

                   pooling orders because, as VGOB and EQT acknowledge, VGOB has no legally cognizable

                   authority under the Act to resolve conflicts of ownership asserted by the applicant / well

                   operator. EQT had under lease Range Resources’ coal only interests in each unit. Consequently,

                   by virtue of the lease from Range Resources of its “conflicting interest,” EQT successfully

                   asserted to VGOB that it was a “gas owner” or a “claimant” in the CBM Unit, thereby providing

                   it standing to seek and obtain a forced-pooling order. See Va. Code §§ 45.1-361.21 and -361.22.

                            83.       Moreover, further distinguishing the situation here from that addressed in Adair v.

                   EQT Production Co., 2011 WL 4527433 (W.D. Va. Jan. 21, 2011), the Gas Act’s application
WOODS ROGERS PLC
ATTORNEYS AT LAW   here did not advance Yellow Poplar’s correlative rights in the gas at issue. In other words, the

                   Gas Act did not promote in the unknown Yellow Poplar a right to have a fair and reasonable




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                   opportunity to obtain and produce its just and equitable share of production of gas from the pool

                   in which it had an interest. See Va. Code § 45.1-361.1. This Court has ruled that that

                   opportunity is provided under the Gas Act “by requiring the gas owner have the right to elect to

                   receive his full proportional share of the net proceeds from a well by choosing to either become a

                   participating or nonparticipating operator.” Id. at 21.

                            84.       Here, though, the Gas Act did not provide unknowns, including Yellow Poplar, a

                   fair and reasonable opportunity to elect. Rather, under the Act seven-eighths of the unknown’s

                   property interest is forfeited to a private party (EQT) who has no gas ownership in the CBM Unit

                   pool (including by lease or otherwise) if the unknown does not come forward within as little as

                   ten days of publication of a notice which is not required to be published more than once, to

                   identify the last known owner, to provide deed, plat or tax map references or boundaries, to

                   provide the relief sought in the application, to provide notice of the right to elect or to provide

                   notice of the severe consequences (forfeiture) of failing to come forward and elect.

                            85.       Application of the Gas Act in this instance permitted a private party operator

                   (EQT) to force “pool” into a CBM unit a tract 100% owned by another private party (Plum

                   Creek), and by virtue of inadequate notice and no opportunity to elect, operated as a forfeiture of

                   seven–eighths of the gas owner’s property interests to the private party operator. The Gas Act’s

                   provisions effected an unconstitutional taking of Plum Creek’s property interests for private

                   purposes and/or for a public use under State authority and/or without adequate and just

                   compensation in violation of the Fifth and Fourteenth Amendments to the United States

                   Constitution and Article I, Section 11 of the Virginia Constitution.
WOODS ROGERS PLC
ATTORNEYS AT LAW            86.       The Gas Act, in the application of its provisions to the circumstances presented by

                   this case, must be declared unconstitutional, and the resulting VGOB pooling orders involving




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                   Yellow Poplar, Unknown declared void and unenforceable. As EQT had no legal authority to

                   produce and sell CBM owned by Plum Creek (as successor of Yellow Poplar), Plum Creek seeks

                   an award of damages equal to eight-eighths of the value of all CMB produced and taken from

                   these wells together with interest thereon, and any monetary or economic benefits or profits

                   derived therefrom by EQT based on the legal theories of trespass, conversion and unjust

                   enrichment. Plum Creek further seeks to enjoin EQT’s continued trespass and conversion

                   through removal of from removing additional CBM attributable to Plum Creek’s interests

                   without Plum Creek’s agreement or by proper authority under law.

                            G.        For those VGOB Orders which are Valid, Plum Creek is Entitled to the
                                      Proceeds from the Escrow Account, Proceeds from Future Production, and All
                                      Other Monies Which EQT Has Not Properly Escrowed Under the Virginia Gas
                                      Act

                            87.       With respect to those forced-pooling orders properly entered bv VGOB or

                   unchallenged herein with respect to Plum Creek’s gas rights, because Yellow Poplar was

                   unknown and EQT claimed conflicting interests, certain proceeds from the sale of gas from the

                   CBM Units were to be escrowed. Specifically, EQT was required to deposit into the escrow

                   account at least a bonus of $5.00/acre and one-eighth of net proceeds from the sale of the gas

                   extracted as provided by statute, regulation and VGOB order. See generally Va. Code § 45.1-

                   361.22(4) and -361.21(7).

                            88.         Prompted by local newspaper coverage of the VGOB escrow account, VGOB

                   retained the accounting firm Robinson, Farmer, Cox Associates “to analyze computations

                   associated with forty (40) escrow accounts held by the ... Board's ... Escrow Agent in accordance

                   with pooling orders and disbursement orders issued by the Board.” Robinson, Farmer found
WOODS ROGERS PLC
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                   very high error rates in the well accounts its analyzed and concluded that “a proper accounting of

                   the escrow accounts held within the pooled bank account(s) is not taking place.” It also found




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                   that errors in deposits were not being identified because the timing and amount of gas company

                   deposits were not compared to well production records, and the gas companies are not remitting

                   funds in a timely manner which, among other things, reduce interest earnings. Finally, it found

                   that deductions were ill-defined and were not being applied consistently.

                            89.       Robinson, Farmer also provided to VGOB an Escrow Account Audit Update,

                   dated July 17, 2012. Robinson, Farmer again noted that it was unable to audit the Escrow

                   Account or its 770 subaccounts due to errors in account balances. Some of the problems noted

                   were that (1) escrow bank statements could not be located; (2) deposits to subaccounts could not

                   be traced to gas company records; (3) checks issued from gas companies had no corresponding

                   deposit into the escrow account that could be located; and (4) variances as much as $200,000

                   between gas company records and subaccount balances. In one subaccount royalties were

                   underpaid by as much as $860,000 over the life of the well.

                            90.       In 2010, the Virginia General Assembly enacted legislation requiring the Auditor

                   of Public Accounts to perform an operational review of the Board's policies and procedures for

                   the collection and disbursement of Escrow Account funds and found that it was necessary for

                   VGOB to adopt and implement additional policies to ensure accuracy and completeness of the

                   escrow accounts.

                            91.       Upon information and belief, “deemed lease” royalties paid by EQT into escrow

                   attributable to Plum Creek’s interests were calculated improperly and were insufficient. For

                   example, in marketing the CBM produced, EQT was obligated to act as a reasonably prudent

                   operator and to market and sell the CBM for the highest price obtainable. However, in
WOODS ROGERS PLC
ATTORNEYS AT LAW   calculating and depositing its “deemed lease” royalty payments into escrow, EQT has, upon

                   information and belief, improperly used gas prices that were less than the highest price




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                   obtainable, including prices from the sale of gas by EQT to affiliates on a non-arm’s length basis.

                   Upon information and belief, EQT also has taken deductions for costs which were not actual,

                   direct, reasonable and necessary.

                            92.       Upon information and belief EQT has not properly escrowed the CBM proceeds

                   attributable to Plum Creek’s (“Yellow Poplar’s”) interests.

                            93.       With respect to valid VGOB Orders pertaining to Yellow Poplar, Unknown in

                   Buchanan County, Virginia, Plum Creek is entitled to a full and accurate accounting of all funds

                   deposited in escrow for each such well, including the quantity of gas produced, the sale price and

                   all deductions claimed, which will reveal the full extent of EQT’s wrongful conduct and Plum

                   Creek’s resulting damages.

                            94.       In addition, to the extent that EQT has deposited into escrow the proper amount of

                   proceeds attributable to Plum Creek’s interests, Plum Creek is entitled to a judgment directing

                   EQT to petition VGOB for the disbursement of such funds to Plum Creek as required by law.

                                                                   COUNT I
                                                            (Declaratory Judgment)
                                                                All Defendants

                            95.       Plaintiff realleges and incorporates by reference the allegations contained in

                   paragraphs 1 through 94, inclusive, as though fully set forth herein.

                            96.       There is an actual and immediate controversy between Plum Creek and

                   Defendants within the meaning of 28 U.S.C. § 2201, et seq., as to the parties’ respective rights

                   and legal relations in connection with the real property described herein and this controversy is

                   concrete and capable of judicial resolution.
WOODS ROGERS PLC
ATTORNEYS AT LAW            97.       Plum Creek contends that it is the successor in title to interests in certain real

                   property located in the watersheds of Levisa River and Dismal Creek and their tributaries in




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                   Buchanan County, Virginia which were originally conveyed by Gallie Friend, Trustee of the

                   Bankrupt Estate to Yellow Poplar to W.M. Ritter Lumber Company by deed dated September

                   21, 1929, recorded in the Clerk's Office of Buchanan County, Virginia in Deed Book 64, Page

                   473.

                            98.       The C. G. Jackson deed and each mesne conveyance found in the land records of

                   the Clerk's Office of the Circuit Court of Buchanan County, Virginia ending in record title in C.

                   G Jackson Record Owners are a legal nullity and are incapable of conferring any right, title,

                   estate or interest in or to the 1,000 acres, more or less, as described in the C. G. Jackson Deed.

                   As such these instruments constitute a cloud on the rightful title of Plum Creek to such real

                   property and should be quieted and removed by the Court.

                            99.       Any claim to ownership of CBM by the C. G. Jackson Record Owners in the

                   Drilling Units/Wells identified in Exhibit D is unsupported by the deeds in the chain of title and

                   is wholly without legal merit.

                            100.      As successor in title in certain real property located in the watersheds of Levisa

                   River and Dismal Creek and their tributaries in Buchanan County which were originally

                   conveyed by Gallie Friend, Trustee of the Bankrupt Estate of Yellow Poplar Lumber Company

                   to W.M. Ritter Lumber Company by deed dated September 21, 1929, recorded in the Clerk's

                   Office of Buchanan County, Virginia in Deed Book 64, Page 473, Plum Creek is also the owner

                   of all gas rights as indicated in the Drilling Units/Wells identified in Exhibit E.

                            101.      Range Resources asserts conflicting claims to CBM gas in each of the Drilling

                   Units/Wells as indicated in Exhibit E.
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                            102.      Range Resources’ conflicting claims to CBM in each of the Drilling Units/Wells

                   as indicated in Exhibit E is unsupported by the deeds in its chain of title and is wholly without

                   legal merit.

                            103.      EQT, Range Resources and/or Columbia Natural Resources are Unit Operators of

                   one or more of the Drilling Units/Wells identified in Exhibit E.

                            104.      The VGOB Orders recorded in the land records of Buchanan County, Virginia,

                   for Drilling Units/Wells located in the watersheds of Levisa River, Dismal Creek and their

                   tributaries in Buchanan County, Virginia, and which identify Yellow Poplar, Unknown as gas

                   owner or which identify as gas owner one or more of the Defendants based on their purported

                   interests as described herein constitute a cloud on the rightful title of Plum Creek which this

                   Court should quiet and remove.

                            105.      In addition, Plum Creek is entitled to a declaration that certain VGOB Orders are

                   void and unenforceable, and that EQT had no legal authority to produce and sell CBM

                   attributable to Plum Creek’s interests.

                            106.      To the extent any such Orders are valid, Plum Creek is entitled to an accounting

                   of all CBM proceeds attributable to its interests and which were or should have been deposited

                   by EQT and held in escrow in the name of Yellow Poplar, Unknown, or in the name of a C. G.

                   Jackson Record Owner, if any, in connection with each of the Drilling Units/Wells identified in

                   Exhibit E. Plum Creek is also entitled to a judgment directing VGOB to disburse the escrowed

                   funds to Plum Creek as required by law.


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                                                                  COUNT II
                                                                  (Trespass)
                                                                 Against EQT

                               107.   Plum Creek realleges and incorporates by reference the allegations contained in

                   paragraphs 1 through 106, inclusive, as though fully set forth herein.

                               108.   Trespass is the unauthorized use of or entry onto another’s property.

                               109.   Because the VGOB pooling orders are void, EQT had no lawful authority to

                   produce CBM attributable to Plum Creek’s interests.

                               110.   EQT exercised wrongful dominion and control over the CBM and its proceeds

                   attributable to Plum Creek’s CBM interests, and deprived Plum Creek of such CBM and its value

                   by wrongfully claiming that it had a lawful right to apply for and obtain a pooling order

                   governing Plum Creek’s CBM rights. EQT has done the same with respect to CBM and CBM

                   sales proceeds it has converted due to the underpayment of royalties.

                               111.   EQT took possession of and sold CBM attributable to Plum Creek’s interests, and

                   did so without receiving lawful authorization or permission from Plum Creek or its predecessors

                   in title.

                               112.   EQT’s actions constitute actionable and continuing trespass upon Plum Creek’s

                   gas ownership interests including its tangible personal property. Such actions were taken

                   willfully and in bad faith and in conscious disregard for the rights of others such as Plum Creek.

                               113.   As a direct and proximate result of EQT’s misconduct, Plum Creek has been

                   damaged and is entitled to recover its compensatory and exemplary damages from EQT, along

                   with prejudgment interest and all other relief deemed appropriate by the Court.
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ATTORNEYS AT LAW




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                                                                 COUNT III
                                                                (Conversion)
                                                                Against EQT

                            114.      Plum Creek realleges and incorporates by reference the allegations contained in

                   paragraphs 1 through 113, inclusive, as though fully set forth herein.

                            115.      With regard to CBM taken from wells which were not governed by any valid

                   VGOB pooling order, EQT has willfully interfered with and converted Plum Creek’s CBM,

                   CBM proceeds and related property rights, without lawful justification. EQT has done the same

                   with respect to CBM and CBM sales proceeds it has converted due to the underpayment of

                   royalties. As a result, Plum Creek has been deprived of possession, use and value of the CBM

                   produced from its property interests, and the proceeds therefrom.

                            116.      EQT’s conduct constitutes an unlawful conversion of the CBM production that is

                   attributable to Plum Creek’s ownership interests and/or sales proceeds derived from the sale of

                   such CBM production. Plum Creek is entitled to receive from EQT an amount of money equal

                   to the gross revenues received by EQT from the sale of Plum Creek’s CBM production, or the

                   fair market value of such CBM production, whichever is greater.

                            117.      EQT’s actions constitute actionable conversion of Plum Creek’s gas ownership

                   interests and the proceeds from the production of those interests. Such actions were taken

                   willfully and in bad faith and in conscious disregard for the rights of others such as Plum Creek.

                            118.      As a direct and proximate result of EQT’s misconduct, Plum Creek has been

                   damaged and is entitled to recover compensatory and exemplary damages from EQT, along with

                   prejudgment interest and all other relief deemed appropriate by the Court.
WOODS ROGERS PLC
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                                                                 COUNT IV
                                                             (Unjust Enrichment)
                                                                Against EQT

                            119.      Plum Creek realleges and incorporates by reference the allegations contained in

                   paragraphs 1 through 118, inclusive, as though fully set forth herein.

                            120.      Benefits attributable to Plum Creek’s CBM ownership interests, including CBM

                   production volumes, sales proceeds, attendant tax credits, and other benefits, have been

                   conferred on EQT. EQT knew of such benefits and should reasonably have expected to repay

                   Plum Creek for the same. EQT accepted and retained the benefits without paying Plum Creek

                   for the value of the benefits, and accepted and retained such benefits under circumstances that

                   render it inequitable for EQT to retain the benefits without paying Plum Creek for their value.

                            121.      Plum Creek is entitled to recover the value of the benefits attributable to Plum

                   Creek’s ownership interests that were accepted and retained by EQT, and any and all other relief

                   deemed appropriate by the Court.

                                                                COUNT V
                                                        (Breach of Fiduciary Duties)
                                                               Against EQT

                            122.      Plum Creek realleges and incorporates by reference the allegations contained in

                   paragraphs 1 through 121, inclusive, as though fully set forth herein.

                            123.      To the extent of any valid VGOB orders, EQT owed fiduciary duties to Plum

                   Creek by virtue of (a) EQT’s status as a Board appointed well operator of CBM units created

                   through compulsory/forced-pooling; (b) EQT’s control over and handling, as unit operator, of

                   CBM production and sales proceeds for the benefit of persons owing interests in the CBM Unis

WOODS ROGERS PLC   operated by EQT, including Plum Creek; and/or (c) EQT’s undertakings to act as agent and/or
ATTORNEYS AT LAW


                   joint venturer for, or for the benefit of, other interest owners in the CBM Units operated by EQT,




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                   including EQT, in regard to the production, marketing and sale of CBM produced for the CBM

                   Units and in regard to the accounting and revenue distribution functions related thereto.

                            124.      By virtue of its fiduciary duties, EQT had an affirmative duty to correctly identify

                   the interest owners in the CBM Unit; calculate and pay the true and correct amount of monies to

                   the interest owners, including Plum Creek; account for all of the CBM produced and sold by

                   EQT; and fully and accurately report and disclose all material information relating to EQT’s

                   calculation of is payments.

                            125.      EQT’s acts and omissions as set forth herein constitute breaches of its fiduciary

                   duties owed to Plum Creek, and were taken in conscious disregard of the rights of others,

                   including Plum Creek.

                            126.      Plum Creek has been damaged as a direct and proximate result of these breaches

                   and is entitled to recover compensatory and exemplary damages from EQT, and any and all other

                   relief which the Court may deem appropriate.


                                                                 COUNT VI
                                                              (Injunctive Relief)
                                                                 Against EQT

                            127.      Plaintiff realleges and incorporates by reference the allegations contained in

                   paragraphs 1 through 126, inclusive, as though fully set forth herein.

                            128.      EQT’s trespass upon and conversion of Plum Creek’s property rights is

                   continuing. Unless EQT ceases the same, Plum Creek will suffer irreparable injury for which

                   there is no adequate remedy at law.

                            129.      Therefore Plum Creek requests the entry of an Order enjoining EQT’s continued
WOODS ROGERS PLC
ATTORNEYS AT LAW
                   production of CBM attributable to Plum Creek’s CBM ownership.




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                                                           PRAYER FOR RELIEF

                            WHEREFORE, Plum Creek requests that the Court, pursuant to 28 U.S.C. § 2201, hear

                   evidence ore tenus and declare the respective rights and legal relations of the parties as follows:

                            A.        That the Court bring before it all necessary, proper and interested parties and

                   declare that all such parties are before the Court;

                            B..       That the Gallie Friend Deed conveyed to W.M. Ritter, Yellow Poplar's surface

                   and gas rights in real property owned by Yellow Poplar on September 21, 1929, and located in

                   the watersheds of the Levisa River, Dismal Creek and their tributaries in Buchanan County,

                   Virginia;

                            C.        That Exhibit C properly identifies the watersheds of the Levisa River, Dismal

                   Creek and their tributaries in Buchanan County, Virginia within the meaning of the Gallie Friend

                   Deed;

                            D.        That Plum Creek is the successor in title in and to the property rights conveyed by

                   the Gallie Friend Deed, including in Tract 10 (surface rights in 1000 acres) and Tract 11 (gas

                   rights in 3,877.5 acres) of the Excelsior Coal and Lumber Company deed dated January 5, 1906;

                            E.        That the Instrument dated October 16, 1930, recorded at Deed Book 65, Page 593

                   in Buchanan County, Virginia, by which Gallie Friend purported to convey to C. G. Jackson

                   1,000 acres is null, void and of no effect;

                            F.        That leases, instruments and deeds memorializing mesne conveyances found in

                   the chains of title originating with the C. G. Jackson Deed and ending in purported record title in

                   certain defendants are each null, void and of no effect;
WOODS ROGERS PLC
ATTORNEYS AT LAW            G.        That Plum Creek is the successor in title to gas rights purportedly pooled in the

                   Drilling Units/Wells identified in Exhibit E under VGOB Orders which identify the gas owner




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                   as "Gallie Friend, Trustee," "Yellow Poplar Lumber Company, Owner Unknown," or similar

                   designation;

                            H.        That Plum Creek is the successor in title to gas rights purportedly pooled in the

                   Drilling Units/Wells identified in Exhibit D under VGOB Orders which identify as gas owner

                   one or more of the Defendants based on their purported interests as described herein;

                            I.        That Plum Creek is the sole and exclusive legal and beneficial owner of the gas

                   interests in the Drilling Units/Wells identified in Exhibit E and that the Defendants have no

                   claim thereto;

                            J.        That certain VGOB pooling orders identifying “Gallie Friend, Trustee," "Yellow

                   Poplar Lumber Company, Owner Unknown," or similar designation are void and unenforceable

                   on the grounds that their issuance did not comport with Virginia law;

                            K.        That certain VGOB pooling orders identifying "Gallie Friend, Trustee," "Yellow

                   Poplar Lumber Company, Owner Unknown," or similar designation are void and unenforceable

                   on the grounds that the Gas Act, as applied here, violates rights guaranteed by the Constitutions

                   of the United States and the Commonwealth of Virginia;

                            L.        That EQT had no legal authority to produce and sell CBM attributable to the

                   interests of Plum Creek;

                            M.        That to the extent VGOB’s orders are valid, Plum Creek is entitled to all funds

                   escrowed in the name of "Gallie Friend, Trustee," "Yellow Poplar Lumber Company, Owner

                   Unknown," or similar designation, or escrowed in the name of a C. G. Jackson Record Owner in

                   connection with Drilling Units / Wells identified in Exhibit E, or otherwise escrowed due to
WOODS ROGERS PLC
ATTORNEYS AT LAW   conflicting claims which the Court has resolved herein in favor of Plum Creek;




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                            N.        That all split agreements between Range Resources and any C.G. Jackson Record

                   Owner establishing the basis for the release of certain escrowed funds and which purport to set

                   forth an agreed division of future royalties are null, void and of no effect;

                            O.        That to the extent that VGOB’s orders are valid, the Court order EQT, Range

                   Resources and/or Chesapeake Appalachia, LLC f/k/a Columbia Natural Resources, LLC as the

                   designated operator to provide a full and complete accounting of all proceeds which were or

                   should have been deposited in escrow;

                            P.        That to the extent that VGOB’s orders are valid, that the Court order that the

                   operator (EQT) comply in all respects with Virginia Code § 45.1-361.22 by timely petitioning

                   the VGOB for the disbursement to Plum Creek of all escrowed funds to which it is rightfully

                   entitled;

                            Q.        That Plum Creek be awarded compensatory and exemplary damages in an amount

                   to be proven at trial;

                            R.        That Plum Creek be awarded prejudgment interest and its costs in this behalf

                   expended;

                            S.        That the Decree entered in this action be spread among the land records of

                   Buchanan County, Virginia so as to quiet and remove any cloud on the rightful title of Plum

                   Creek in and to the real property at issue; and

                            T.        That the Court issue such other and further orders and grant such other and further

                   relief as equity may deem meet and the nature of this proceeding may require.

                            TRIAL BY JURY IS HEREBY DEMANDED.
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                                                                  Respectfully submitted,

                                                                  PLUM CREEK TIMBERLANDS, L.P.


                                                                  By: /s/    Francis H. Casola

                   Francis H. Casola (VSB #29108)
                   WOODS ROGERS PLC
                   Wells Fargo Tower, Suite 1400
                   10 South Jefferson Street
                   P.O. Box 14125
                   Roanoke, Virginia 24038-4125
                   540.983.7600 (telephone)
                   540.983.7711 (fax)
                   casola@woodsrogers.com

                   T. Shea Cook, Esq. (VSB #34832)
                   T. SHEA COOK, P.C.
                   P.O. Box 507
                   2411 Second Street
                   Richlands, Virginia 24641

                   Aaron B. Houchens, Esq. (VSB #80489)
                   STANLEY, HOUCHENS & GRIFFITH
                   13508 Booker T. Washington Hwy.
                   Moneta, Virginia 24121
                   ahouchens@shg-law.com

                            Counsel for Plum Creek Timberlands, L.P.



                                                     CERTIFICATE OF SERVICE

                            I hereby certify that on the 28th day of April, 2014, a true and accurate copy of the

                   foregoing was provided to the following participant via the Court’s CM/ECF electronic filing

                   system or via U.S. Mail, postage prepaid:

                            Wade W. Massie, Esq.
                            Mark L. Esposito, Esq.
                            Cameron S. Bell, Esq.
                            Penn, Stuart & Eskridge
                            P.O. Box 2288
WOODS ROGERS PLC            Abingdon, Virginia 24212
ATTORNEYS AT LAW
                            wmassie@pennstuart.com

                                      Counsel for Defendants Range Resources-Pine Mountain, EQT Production
                                      Company, Heartwood Forestland Fund IV, L.P.



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                            John M. Lamie, Esq.
                            Abingdon, Virginia
                            jlamie@blglaw.us

                                      Guardian Ad Litem for Unknown Successors in Title to Yellow Poplar Lumber
                                      Company, Inc.

                            R. Lucas Hobbs
                            Elliott Lawson & Minor, P.C.
                            110 Piedmont Avenue, Suite 300
                            Bristol, VA 24201

                            J. Scott Sexton, Esq.
                            Gregory D. Habeeb, Esq.
                            James J. O'Keefe, Esq.
                            Gentry Locke Rakes & Moore, LLP
                            10 Franklin Road, SE, Suite 800
                            Roanoke, VA 24011

                                      Counsel for Edwin F. Legard, Jr.; Elizabeth Anne Cox, Trustee of the Elizabeth
                                      Anne Cox Trust; William B. Baker, Jr., Trustee of the Emily P. Baker Generation
                                      Skipping Trust; Michael Trivett and Matthew Trivett

                            William E. Bradshaw, Esq.
                            William E. Bradshaw, P.C.
                            302 Shawnee Avenue
                            Big Stone Gap, VA 24219

                                      Counsel for Chesapeake Appalachia, LLC

                            Charles Bartlett
                            432 East Main Street, Suite G
                            Abingdon, VA 24210

                            Hon. Mark R. Herring         (Via Certified Mail)
                            Attorney General of Virginia
                            Office of the Attorney General
                            900 East Main Street
                            Richmond, VA 23219

                                                                                /s/ Francis H. Casola




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